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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                08-cr-87-bbc
              v.

PRINCE P. BECK,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Prince P. Beck has filed a “Motion for New Trial Under Fed. R. Crim. P.

33(b) Based on Newly Discovered Evidence.” In his motion he alleges that the government’s

key witnesses lacked credibility and therefore their testimony should not have been accepted.

Although defendant characterizes his motion as one brought under Federal Rules of Criminal

Procedure, it is actually a motion for modification of his sentence and must be brought

pursuant to 28 U.S.C. § 2255 and subject to the rules of the Anti-Terrorism and Effective

Death Penalty Act. Any motion that is filed in the sentencing court that is substantively

within the scope of § 2255 must be filed as a § 2255 motion. United States v. Carraway,

478 F.3d 845, 848 (7th Cir. 2007)(“The fact that [petitioner] labeled his motion as a

request for relief under civil Rule 60(b) rather than section 2255 is immaterial; it is the


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substance of the petitioner’s motion that controls how his request for relief should be

treated.”)

       However, before addressing the re-characterized motion, I am required to advise

defendant that I am re-characterizing the motion and that this means that it will count as

his first § 2255 motion. Castro v. United States, 124 S.Ct. 786, 792 (2004). If defendant

proceeds with this motion, he will not have an opportunity to file a second motion to modify

or vacate his sentence except in unusual circumstances and then only after he has received

permission from the Court of Appeals for the Seventh Circuit for a second filing. See 28

U.S.C. § 2255 ¶ 8. If defendant wishes to proceed, he must advise the court of his intention.

Because it is likely that this § 2255 motion will be the only one he will be allowed to file, he

should consider carefully whether he wants to add any other § 2255 claims.




                                            ORDER

       IT IS ORDERED that defendant Prince P. Beck’s Motion for New Trial Under Fed.

R. Crim. P. 33(b) Based on Newly Discovered Evidence is re-characterized as a motion

brought pursuant to 28 U.S.C. § 2255. Defendant may have until May 26, 2011, in which

to advise the court whether he wishes to withdraw his motion or proceed with it. If he

chooses to proceed, he is either to attach a rewritten motion, setting out all his challenges

to his sentence, or advise the court that his only challenges are the ones set out in his present


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motion. I am enclosing a form that defendant may use to file a motion. If defendant does

not respond to this order by May 26, 2011, the court will consider his motion to have been

withdrawn.

      Entered this 10th day of May, 2011.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




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